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                                                                        Trustee: ANDREW SKLAR (500320)
    Case: 17-10097 - BANGER'S SPORT SHOP, LLC

Account No.          Check No. Issued
                                                                                                                     Amount           Amount             Paid       Small
                                  Claim No.        Filed      Priority Claimant                                       Filed           Allowed          to Date     Payment
5017308566                   155 07/09/18           Payee:     U.S. Bankruptcy Court                                                            Check Amount:         $0.99
                                    14             03/06/17    610     DYLAN J. SNIVELY                                250.00          250.00           102.14         0.29
                                                                       8 UNION AVENUE
                                                                       STRATFORD, NJ 08084
                                         17        04/03/17    610     COLTON J. GEMENDEN                              250.00          250.00           102.14         0.29
                                                                       797 LINCOLN AVE
                                                                       WILLIAMSTOWN, NJ 08094
                                         21        04/11/17    610     JHW REAL ESTATE, LLC                            285.50          285.50           116.64         0.33
                                                                       C/O JEFFREY A. COHEN, ESQ.,
                                                                       CHERRY HILL, NJ 08002
                                         25        01/03/17    610     Wayne Stark                                      75.00           75.00            30.64         0.08
                                                                       7 Nicholas Lane
                                                                       Oceanview, NJ 08230




                 7/9/2018                                                                      /s/ Andrew Sklar, Chapter 7 Trustee




 (*) Denotes objection to Amount Filed
